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                              UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA (MIAMI)
                                CASE NO. 95-CR-314-LENARD

   UNITED STATES          OF AMERICA   )
                                       )
               v.                      )
                                       )
   RAUL ISRAEL                         )
   ____________________________________)

    [PROPOSED] MR. ISRAEL’S RENEWED MOTION FOR COMPASSIONATE RE-
   LEASE BASED ON NEW EVIDENCE AND RECORDS; OR, IN THE ALTERNATIVE,
   HIS SECOND MOTION FOR COMPASSIONATE RELEASE; AND HIS UNOPPOSED
                     MOTION FOR EXPEDITED BRIEFING

          This cause having come before the Court on Mr. Israel’s motion (DE448), the Court having

   been fully advised in the premises, it is hereby

          ORDERED and ADJUDGED that the Unopposed Motion for Expedited Briefing is

   GRANTED. The government shall have seven (7) days to file its Response to Mr. Israel’s [re-

   newed or second] motion for compassionate release, and Mr. Israel shall have three (3) days to file

   his Reply.

          DONE and ORDERED this ___ day of July 2020, in Miami, Florida.


                                                 __________________________________________
                                                 JUDGE JOAN A. LENARD
                                                 UNITED STATES DISTRICT COURT

   Cc:    All counsel of record
          Clerk of Court
